  Case 4:19-cv-00026-A Document 15 Filed 05/03/19             1 US, lllSTRICT
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                                                                       DISTRICT OF TEXAS
                                                                      FILED
                 IN THE UNITED STATES DISTRICT!CO RT
                      NORTHERN DISTRICT OF TEXAS                   MAY -3 2019
                          FORT WORTH DIVISION
                      ,'                                      CLERK, U.S. DISTRICT COURT
ROOR INTERNATIONAL   ~V,   ET AL.,   §
                                                                8~·--.,.,,.---
                                                                 --  Deputy
                                     §
           Plaintiffs,               §
                                     §
vs.                                  §   NO. 4:19-CV-026-A
                                     §
LABYRINTH SMOKE SHOP, ET AL.,        §
                                     §
           Defendants.               §


                             FINAL JUDGMENT

      In accordance with the order signed this date,

      The court ORDERS, ADJUDGES, and DECREES that the claims and

causes of action of plaintiffs, Roor International BV and Sream,

Inc., against defendants, Labyrinth Smoke Shop and John Doe, be

and are hereby, dismissed without prejudice, pursuant to the

authority of Rule 4(m) of the Federal Rules of Civil Procedure.

      SIGNED May 3, 2019.
